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16
                    IN THE UNITED STATES DISTRICT COURT
17                FOR THE CENTRAL DISTRICT OF CALIFORNIA
18                           SOUTHERN DIVISION
19                                         ) Case No. 8:20-cv-00048-JVS-JDE
     MASIMO CORPORATION,                   )
20   a Delaware corporation; and           ) MASIMO’S OPPOSITION TO
     CERCACOR LABORATORIES, INC.,          ) APPLE’S MOTION FOR REVIEW
21   a Delaware corporation                ) OF AND OBJECTIONS TO
              Plaintiffs,                  ) MAGISTRATE JUDGE EARLY’S
22                                         ) NOVEMBER 8, 2024 REPORT AND
         v.                                ) RECOMMENDATION REGARDING
23                                         ) PLAINTIFFS’ INFRINGEMENT
24   APPLE INC., a California corporation )) CONTENTIONS
              Defendant.                   ) Hearing: January 6, 2025
25                                         ) Time: 1:30 pm
                                           )
26                                         ) Hon. James V. Selna
                                           )
27                      REDACTED VERSION OF DOCUMENT
                       PROPOSED TO BE FILED UNDER SEAL
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1                                     I. INTRODUCTION
2          Judge Early correctly found that Masimo’s July Contentions did not raise new
3    infringement theories because they merely added details to pre-existing theories. He
4    alternatively found that any amendments in the July Contentions are supported by good
5    cause. After arguing that every single infringement theory in Masimo’s 864-page July
6    Contentions was new and leveraging that argument to obtain separation of the patent
7    and trade secret cases, Apple now objects to Judge Early’s ruling with respect to just one
8    theory, namely, Masimo’s theory that Workout Mode infringes the “continuous”
9    limitations of the ’703 Patent. But Apple fails to show that Judge Early’s ruling for the
10   Workout Mode theory is clearly erroneous or contrary to law. Because Apple shows no
11   error in the only ruling it challenges, the Court should adopt the R&R in its entirety.
12         First, Apple argues that the May Contentions did not mention “Workout Mode”
13   and that Masimo relied on only screenshots. But Apple omits that Masimo also included
14   explanatory text in its May Contentions, which explained that the “continuous”
15   limitations were satisfied by the algorithms that perform Workout Mode. And that
16   explanatory text was supported by screenshots of Apple technical documents describing
17   the technical details for those Workout Mode algorithms. Judge Early thus properly held
18   Masimo’s July Contentions merely add details, such as “new nomenclature to conform
19   with Apple-specific naming conventions,” to the Workout Mode theory in its May
20   Contentions. Apple fails to show this factual finding was clearly erroneous.
21         Apple cites various cases to argue the May Contentions’ use of screenshots did
22   not put Apple on notice of the Workout Mode theory. But to the extent Apple’s cases
23   even addressed screenshots, each case allowed amendment. And the screenshots in
24   those cases involved generic marketing material with no link to the claims. Unlike those
25   cases, Masimo’s screenshots are excerpts of highly technical Apple documents that
26   Masimo has shown are linked to what infringes the “continuous” limitations—Workout
27   Mode. The screenshots also support the explanatory text Masimo included in its May
28
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1    Contentions, which references algorithms that Apple admits refer to its Workout Mode.
2    Thus, Apple’s cases are inapposite and fail to show error.
3          Second, Apple argues Judge Early erred by addressing good cause because the
4    issue was not referred to him and not argued by Masimo. But good cause was squarely
5    within the scope of the dispute this Court referred to Judge Early. And Masimo showed
6    the good cause for its amendments, including because Apple had no prejudice and
7    Masimo was diligent in amending based on information Apple provided after the May
8    contention. Apple fails to show Judge Early erred by addressing this relevant issue.
9          Finally, Apple argues that Judge Early’s finding that “Masimo acted with
10   sufficient diligence” in providing its July Contentions was clearly erroneous. But Apple
11   ignores its late-provided discovery justified Masimo’s amendments. Apple also argues
12   that Judge Early erred in finding no prejudice to Apple, but Apple fails to show error.
13   Apple’s own case confirms multiple reasons why it would have been proper for Judge
14   Early to consider prejudice in place of diligence. Apple argues that the “possibility” of
15   needing to reopening discovery would be prejudicial. But Apple never identified any
16   discovery that it needs. Indeed, the only discovery Apple mentioned was to depose the
17   inventor of ’703 Patent about the scope of his patent. And Apple already deposed him
18   after receiving Masimo’s July Contentions. Thus, Apple shows no error in Judge
19   Early’s finding that Apple’s proffer of prejudice was merely “speculative” and any
20   prejudice could be “easily alleviated” by setting an appropriate case schedule.
21                                    II. BACKGROUND
22   A.    Apple Moved To Compel Supplemental Infringement Contentions
23         Masimo provided infringement contentions on April 15, 2024, one week before
24   the deadline in the Court’s schedule. Dkt. 1955-1 at 12. In those contentions, Masimo
25   identified missing Apple core technical documents and committed to supplement after
26   Apple produced them. Id. at 15-16. When Apple claimed to “substantially complete”
27   that production by producing over 10,000 pages on May 22, Masimo agreed to
28   supplement its contentions by May 31—just nine days later. Id. at 2. On May 28, before
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1    even seeing Masimo’s supplement, Apple served the joint stipulation for its motion to
2    compel anyway. And despite receiving Masimo’s supplemental contentions on May 31
3    (“May Contentions”), before Apple filed its motion and well before any order on that
4    motion could have required, Apple filed its motion on June 6 anyway. Dkt. 1955.
5          On June 27, the Court issued its tentative ruling on Apple’s motion and Masimo’s
6    co-pending motion to strike Apple’s invalidity contentions. In its Tentative, the Court
7    deferred ruling on Apple’s motion and ordered the parties to “meet and confer to discuss
8    any needed supplementation.”        Tentative at 7.     The Court ordered that any
9    supplementation by Masimo be completed “within two weeks” of its eventual Order. Id.
10         At the July 1 hearing, the Court explained Masimo could supplement to add
11   “details” as Apple requested. 7/1/24 Tr. at 13:24-14:23, 18:19-19:19. Masimo worked
12   quickly to add the requested detail and provided its supplemental contentions to Apple
13   on July 5 (“July Contentions”). Dkt. 1994 at 1. Thus, by July 5, Apple had received
14   everything it requested in its motion to compel.
15   B.    Apple Then Argued Masimo’s July Contentions Have All “New” Theories
16         At the July 8 hearing, Masimo explained that its July Contentions reduced both
17   the number of asserted claims from 38 to 15 and the ways Masimo alleged infringement.
18   7/8/24 Tr. at 5:25-8:6. Masimo also added details to support those allegations from
19   newly available evidence, including from the deposition of an Apple employee that
20   occurred just one business day before the July Contentions were served. Id. at 6:24-7:9,
21   7:25-8:3. Nevertheless, Apple argued that, other than the cover pleading of Masimo’s
22   July Contentions, “[t]he remainder, Appendix 1 and it follows with various appendices,
23   are new.” Id. at 8:20-9:5; id. at 11:9-14. The Court ordered the parties to confer about
24   the July Contentions “page by page” and set a follow-up hearing for July 12. Id. at
25   15:12-15, 18:10-14, 21:8-22.
26         The parties conferred on July 9 for almost six hours. Masimo explained, page-
27   by-page, how and where every theory in its July Contentions had been set forth in its
28   May Contentions. Dkt. 2027. After the conference, Apple shifted positions and argued
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1    the July Contentions contained four “new” theories. Dkt. 2029; 7/12/24 Tr. at 5:10-
2    6:20; Dkt. 2311 at 10:5-15. Masimo again explained that its July Contentions merely
3    added detail to its existing theories. Dkt. 2027. The parties also submitted highlighted
4    versions of the July Contentions setting forth the dispute. See, e.g., Dkt. 2028.
5    C.    The Court Sought A Special Master
6          At the July 12 hearing, the parties agreed the contentions dispute would require
7    the Court to wade through voluminous documents. 7/12/24 Tr. at 5:10-16, 6:13-14, 8:9-
8    13. The Court then expressed that a special master or technical expert may be needed
9    to address Apple’s allegations of new theories. Id. at 8:14-22. The Court ordered the
10   parties to propose names for a special master by July 19. Id. at 8:14-22, 16:4-21. And
11   after the parties and the Court could not find a suitable special master, the Court referred
12   Apple’s motion to Judge Early. Dkt. 2114.
13   D.    Apple Relied On Its Mere Allegations To Separate Masimo’s Patent And
14         Trade Secret Claims Into Two Trials
15         Before Apple’s allegations, the patent and trade secret claims were scheduled to
16   be tried together in November 2024. On July 8, Apple argued that the time required “to
17   resolve” Apple’s allegations about Masimo’s infringement contentions required having
18   a separate, later trial on Masimo’s patent claims. 7/8/24 Tr. at 20:4-10, 21:2-7, 25:23-
19   26:2; id. at 25:23-27:9. Apple urged that the “special-master process obviously will
20   require changing the schedule on the patent claims.” Dkt. 2031 at 2 (cleaned up); id. at
21   1, 8. And as a result, the Court bifurcated Masimo’s patent claims for a separate trial.
22   Dkt. 2064. Thus, Apple prevailed in bifurcating the patent claims based on unproven
23   allegations that Masimo’s July Contentions included “new” theories.
24         Now, Judge Early has rejected all of Apple’s allegations about the infringement
25   contentions. Dkt. 2311 at 16-25. Judge Early found the four challenged theories were
26   not new because Masimo merely added details to its existing infringement theories. Id.,
27   19-23. Those details included “nomenclature to conform with Apple-specific naming
28   conventions” (id. at 19), “details from testimony provided by an Apple employee two
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1    days earlier” (id. at 21), “substitution of names used by Apple in place of Masimo’s
2    descriptive” phrasing (id. at 22), and “clarifications” to prior DOE theories (id. at 23).
3    Judge Early further found that, even if the Court were to find a theory new, any
4    amendments are supported by good cause because of Masimo’s diligence and the lack
5    of prejudice to Apple. Id. at 19-24.
6    E.    Apple Now Abandons All But One Of Its Arguments
7          Apple now challenges only one infringement theory: “Workout Mode.” Mot. at
8    10-15. Apple thus effectively concedes that its adamant representation to this Court
9    about everything but the cover pleading of Masimo’s July Contentions being “new” was
10   incorrect. 7/8/24 Tr. at 8:20-9:5, 11:9-14. And Apple likewise concedes that the
11   following Masimo infringement theories were not actually “new”: (1) processing
12   characteristics for                 (2) processing characteristics for                and
13   (3) doctrine of equivalents. Dkt. 2029. Apple also no longer maintains its position that
14   Masimo “served 864 pages of new infringement contentions.” Dkt. 2116 at 5. Thus,
15   Apple sought and obtained bifurcation and delay based on allegations that Apple now
16   concedes it can no longer defend.
17                                       III. ARGUMENT
18         As Apple acknowledges, setting aside Judge Early’s ruling requires it to be
19   “clearly erroneous or contrary to law.” Mot. at 9 (quoting Dkt. 79 at 3). Apple fails to
20   show either, and thus the Court should adopt the R&R.
21   A.    Judge Early Correctly Found That “Workout Mode” Is Not A New Theory
22         After reviewing the parties’ briefing, Masimo’s May and July Contentions, and
23   conducting a multi-hour hearing where he carefully considered each of Apple’s
24   arguments, Judge Early found that “the July Contentions’ references to Workout Mode
25   did not introduce a new theory, but rather provided additional details, including new
26   nomenclature to conform with Apple-specific naming conventions, regarding an
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1                                                 9/26/24 Sealed Tr. at 38:10-20. Masimo also
2    referred to this
3             Id. Masimo continued by explaining that entering Workout Mode
4
5                                 Id.
6            Judge Early asked,
7                                       Id. at 39:1-3. Masimo explained that Apple would have
8    known this explanatory text refers to Workout Mode because it describes
9                                                          Id. at 39:4-18.
10                                                                  . Id. at 38:10-20.
11           Masimo also identified screenshots of Apple documents from its May
12   Contentions, including the following:
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20   Id. at 39:17-42:12 (discussing Dkt. 2012-1 at 163 (above)). Masimo explained that this
21   screenshot showed
22                                                                                 Id. at 39:20-
23   40:6.                          is the “Workout Mode.” Id. at 41:20-23. The screenshot
24   also shows the
25   Id. at 39:20-40:6. And Masimo explained
26                                                                                Id. (referring
27   to id. at 3:23-25).
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10   Id. at 52.
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21   Id. at 54, 109 (incorporating both documents above into “continuous” analysis).
22          Accordingly, Masimo showed how its May Contentions disclosed an
23   infringement theory for the “continuous” limitations of the ’703 Patent based on
24   Workout Mode. Judge Early agreed and found “the July Contentions did not assert a
25   new theory as related to ‘Workout Mode’” because that theory was disclosed in the May
26   Contentions. Dkt. 2311 at 19-20. As Judge Early explained, the July Contentions
27   regarding Workout Mode merely added detail, such as “new nomenclature to conform
28   with Apple-specific naming conventions”
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1                                “an existing theory.” Id. Apple has not shown those factual
2    findings constitute clear error.
3          2.       Apple’s “Indirect Disclosure” Argument Is Wrong
4          According to Apple, Masimo is arguing its “Workout Mode theory “was
5    indirectly disclosed via ‘screenshots’ and citations to ‘numerous documents.’” Mot. at
6    11. Apple is wrong.3 As discussed above, the Workout Mode theory was directly
7    disclosed in the May Contentions. Supra §III.A.1. Indeed, the May Contentions
8    repeatedly referred to
9
10              9/26/24 Sealed Tr. at 3:23-25.
11         3.       Apple’s Screenshots Argument Fails To Show Any Error
12         Apple cites several cases to argue that Masimo’s reliance on screenshots of
13   “numerous documents” did not put Apple on notice of Masimo’s Workout Mode theory
14   of infringement. Mot. at 11. But Masimo did not merely rely on screenshots. As
15   discussed, Masimo also disclosed that theory in explanatory text, pin-cites to Apple
16   documents, and supporting screenshots of the relevant portions of pin-cited documents.
17         Further, Masimo showed that the screenshots in its contentions “are actually pin-
18   cited excerpts from long technical documents” produced by Apple. 9/26/24 Sealed Tr.
19   at 34:8-11; Dkt. 2027 at 6-9; see, e.g., Dkt. 2012-1 at 52, 54, 110, 113, 122, 125, 128.
20   Masimo’s May Contentions included these pin-cited screenshots of relevant discussion
21   in Apple’s technical documents because Masimo’s infringement theories involve “very
22   detailed technical issues that are presented in long documents” such that characterizing
23   the document in prose is often a fool’s errand. 9/26/24 Sealed Tr. at 34:21-24. Thus,
24   Masimo used a combination of explanatory text, screenshots, and citations.
25         Apple fails to show any error. Indeed, all four of the cases about screenshots that
26   Apple cites allowed amendment. Digital Reg of Texas LLC v. Adobe Sys. Inc., 2013 WL
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       Apple’s footnote 5 is also wrong because the screenshot Apple mentions was included
28   in Masimo’s May Contentions for the “continuous” limitations. Dkt. 2028 at 190.
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1    3361241, at *3-*4 (N.D. Cal. July 3, 2013); Fortinet, Inc. v. Forescout Techs., Inc., 2021
2    WL 1749902, at *4 (N.D. Cal. May 4, 2021); Finjan, Inc. v. Check Point Software
3    Techs., Inc., 2019 WL 955000, at *9 (N.D. Cal. Feb. 27, 2019); Finjan, Inc. v.
4    SonicWall, Inc., 2019 WL 2077849, at *4 (N.D. Cal. May 10, 2019). Thus, none of
5    those cases show Judge Early erred because they all allowed amendment despite unclear
6    screenshots. Each case is also readily distinguishable.
7          For example, Digital Reg addressed simple screenshots of iPhone games:
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14   No. 4:12-cv-01971, Dkt. 252 (N.D. Cal. Nov. 2, 2012). As Masimo explained, “the
15   screenshots in the Digital Reg of Texas case are a very different type” than the specific
16   screenshots of “highly technical documents” in Masimo’s contentions. 9/26/24 Sealed
17   Tr. at 35:16-36. Digital Reg is also inapposite because there, the plaintiff provided no
18   explanatory text, the included screenshots were not tied to the particular limitations of
19   the claims, and the defendant was left to guess was aspect of the system was accused for
20   every limitation. Id. at 35:19-36:2; Digital Reg, 2013 WL 3361241, at *3-*4. None of
21   those circumstances apply to Masimo’s contentions.
22         Similarly, Fortinet addressed contentions that “merely parrot[ed] claim language”
23   and then included screenshots without ever linking the screenshots to the claim
24   language. 2021 WL 1749902, at *3. The screenshots were so lacking in detail or
25   apparent relevance that it was “not clear who or what is accused.” Id. But Masimo’s
26   May Contentions linked Workout Mode to the “continuous” limitations with
27   explanatory text, relevant screenshots, and parenthetical citations.
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1          In Check Point, the screenshots described how some accused products work “in a
2    general sense” with no link to the claim language.
3    2019 WL 955000, at *6. In SonicWall, the screenshots
4    were also of generic “marketing materials” (shown at
5    right) and lacked anything that “relates to the claim
6    limitations at issue.” 2019 WL 2077849, at *3. But here, Masimo’s screenshots were
7    excerpts of highly technical engineering documents produced by Apple, not public
8    marketing materials. And Masimo linked those screenshots to claim language with
9    explanatory text, parenthetical citations, and by including screenshots relevant to each
10   limitation. The May Contentions are nothing like the screenshot cases Apple cites.
11         Apple also cites two other cases and this Court’s order deferring a ruling on
12   Apple’s motion, but none addressed the propriety of screenshots in contentions. Mot.
13   11-12 (citing Shared Memory Graphics LLC v. Apple Inc., 812 F. Supp. 2d 1022, 1025
14   (N.D. Cal. 2010); Dkt. 2019 at 2-3; Uni-Splendor Corp. v. Remington Designs, LLC,
15   2017 WL 4786085, at *3 (C.D. Cal. Aug. 10, 2017)). Thus, those decisions also do not
16   show Judge Early erred.
17         Apple argues that Judge Early relied on Grecia for the proposition that a party can
18   “us[e] scattered screenshots in the place of an explanatory narrative.” Mot. at 12. But
19   Judge Early never found that contentions could use scattered screenshots in place of any
20   explanatory text. He cited Grecia for the common-sense proposition that contentions
21   can include screenshots if “they are used in a sufficiently informative way with other
22   information.” Dkt. 2311 at 19. Apple also notes that in Grecia, some of the explanatory
23   text pointed to screenshots using “labels” (arrows). Mot. at 12. Here, Masimo showed
24   its May Contentions not only included explanatory text, but tied that information to the
25   “continuous” limitations and explained how the explanatory text and supporting
26   screenshots of Apple technical documents collectively refer to Workout Mode. Supra
27   §III.A.1. Judge Early agreed. Dkt. 2311 at 19-20. Apple has not shown that Judge
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1          Lastly, Apple argues that no one “could be expected to understand a general ‘See,
2    e.g.’ reference to four tables to disclose an infringement theory.” Mot. at 14. But
3    Masimo does not rely on such a reference to disclose its Workout Mode theory. Rather,
4    the May Contentions’ claim chart entries for the “continuous” limitations disclose the
5    Workout Mode theory (including                                     using explanatory text
6    and supporting screenshots, and those entries cite Tables 3 and 5 to provide further text
7    and screenshots detailing                                 respectively. Supra §III.A.1.
8    B.    Good Cause Supports Any Amendments Regarding Masimo’s
9          “Workout Mode” Infringement Theory
10         1.     Judge Early Correctly Addressed Good Cause
11         Apple raises the “procedural” argument that the Court can “decline to adopt the
12   R&R” because Judge Early “erred by addressing good cause.” Mot. at 15. Through this
13   argument, Apple seeks to add to the over four years of delay it has already obtained.
14   Good cause was an alternative ground for the Judge Early’s conclusion. The Court can
15   affirm because the July Contentions raised no new theory. Supra §III.A. Regardless,
16   neither of Apple’s arguments show that Judge Early erred by addressing good cause.
17         First, Apple argues that Judge Early erred by addressing good cause because the
18   Court’s referral “was limited to the narrow question of whether [the July] Contentions
19   added new theories of infringement or merely added details to existing theories.” Mot.
20   at 15. The Court’s referral was not so limited. The Court referred “Apple’s Motion to
21   Magistrate Judge John D. Early for a report and recommendation,” and authorized taking
22   “procedural steps which may be conducive to resolution of the issues.” Dkt. 2114. It
23   called for resolution of the dispute it previously deferred (id.), which included “whether
24   the scope of [Masimo’s] supplemental contentions is appropriate.” Dkt. 2019 at 8. By
25   addressing good cause, Judge Early confirmed the July Contentions are appropriate both
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1    because they contained no new theories and because Masimo showed good cause. Dkt.
2    2311 at 19-20, 24-25.5
3          Second, Apple argues Judge Early was not asked to address good cause because
4    Masimo “never attempted to establish” good cause. Mot. at 16-17. Apple is wrong.
5    Good cause can be based on diligence, lack of prejudice, or both. See, e.g., Apple Inc.
6    v. Samsung Elecs. Co., 2012 WL 5632618, at *5 (N.D. Cal. Nov. 15, 2012). Masimo
7    explained Apple’s lack of prejudice in detail in the joint status report submitted to Judge
8    Early. Dkt. 2116 at 2-4. Masimo also showed its diligence in the briefing and hearings
9    on this dispute because the July Contentions came just weeks or days after Apple (1)
10   claimed to “substantially complete” its production of core technical documents, and (2)
11   provided 30(b)(6) testimony that
12                                                                         and (3) served an
13   interrogatory response revealing
14                     Dkt. 1955-1 at 2; Dkt. 2027 at 3, 9; 7/8/24 Tr. at 5:25-8:6; 9/26/24
15   Sealed Tr. at 69:17-70:13.
16         Apple also suggests Masimo had to choose between asserting either (a) it did not
17   pursue theories or (b) its new theories were supported by good cause. See Mot. at 17:2-
18   11 (quoting Masimo’s argument about Apple’s interrogatory response and Judge Early’s
19   statements at the hearing). Nothing prevented Masimo from arguing in the alternative
20   that its July Contentions merely included additional details but that, if the Court found
21   the change was a new theory, Masimo had good cause. And that is precisely what
22   Masimo argued and Judge Early found.
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27    Apple’s two cases are inapposite because, unlike here, they involved a magistrate judge
     who “exceeded his authority” or “the scope of the referral.” Mot. at 15.
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1          2.    Judge Early’s Finding Of Good Cause Was Not Clearly Erroneous
2                a.     Judge Early Correctly Found That Masimo Acted Diligently
3          Judge Early found that “Masimo acted with sufficient diligence” in providing its
4    July Contentions. Dkt. 2311 at 19-20. Apple argues several reasons why this finding
5    should be set aside. Mot. at 17-20. Each argument lacks merit.
6          First, Apple faults Judge Early for finding that Masimo was diligent given “the
7    unique circumstances of this case.” Id. at 18. Apple complains that some of those
8    circumstances happened “four years ago” and thus they do not say anything about
9    Masimo’s “diligence today.” Id. But that shows no error. Judge Early appreciated that
10   Masimo has been diligent in seeking to update its contentions despite various Apple-
11   induced delays. Dkt. 2311 at 19-20. Masimo’s record of pushing to obtain the technical
12   discovery it needs, and promptly supplementing once Apple finally provides that
13   discovery, supports Judge Early’s finding. Apple cites no authority otherwise.
14         Apple attempts to blame Masimo because Masimo “(successfully) press[ed] for
15   an expedited discovery schedule” by representing “most discovery” was complete. Mot.
16   at 18; id. at 19:4-5. It is unclear how those facts concern Masimo’s diligence. In any
17   event, Masimo did not know that Apple would (1) delay until the last minute to provide
18   significant additional technical discovery or (2) insist on Masimo reformatting its
19   contentions like Masimo did in the July Contentions. Because of the discovery schedule,
20   Masimo had to work very quickly to comply with Apple’s request for supplemental
21   contentions. Masimo’s request for an expedited schedule in April does not excuse
22   Apple’s delay in providing discovery or preclude Masimo from explaining the later
23   intervening events that demonstrate its diligence in amending contentions.
24         Second, Apple faults Judge Early for “observ[ing] that [Masimo’s July]
25   Contentions were served roughly 10 weeks after” the initial deadline. Mot. at 18-19.
26   Apple notes that, while Judge Early cited ZiLOG, he cited no authority to support that a
27   patentee can amend infringement contentions “without any intervening event.” Id. But
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1    citing no such authority is not error. Regardless, as discussed above, this case involved
2    “intervening events.”
3          Third, Apple faults Judge Early for citing no authority that receiving discovery
4    related to infringement establishes diligence if that information merely “confirmed” pre-
5    existing theories. Mot. at 19. But Judge Early did cite O2 Micro for the proposition that
6    diligence includes acting promptly upon discovering new information. Dkt. 2311 at 15.
7    Here, the intervening discovery (1) showed the relationship between the
8    algorithms and Workout Mode and (2) necessitated Masimo conforming its contentions
9    to the nomenclature and “naming conventions” that Apple uses to describe the accused
10   Workout Mode functionality. Dkt. 2027 at 9; Dkt. 2311 at 19. Judge Early correctly
11   found the changes did not constitute new theories but, even if the Court were to disagree,
12   Masimo demonstrated good cause, including by diligently updating its contentions after
13   receiving intervening discovery from Apple.
14         Apple also misstates Judge Early’s use of the Netlist case. Mot. at 19 n.11. Judge
15   Early cited Netlist for the common-sense point that new information could theoretically
16   come from, among other sources, a Rule 30(b)(6) deposition. Dkt. 2311 at 15. It is
17   irrelevant that the Netlist decision did not find the timing of a particular Rule 30(b)(6)
18   deposition to provide good cause based on fact pattern not at issue here. See 2010 WL
19   1838693 at *3 (rejecting attempt to “add six new claims” and “quadruple the number of
20   infringement contentions after the close of discovery”).
21         Fourth, Apple faults Judge Early’s finding that “striking all or some of the
22   challenged amendments … would not promote the just, speedy, and inexpensive
23   determination of this action.” Mot. at 19-20. Apple argues that Judge Early cites no
24   authority that “reasons of judicial convenience” can eliminate the need to show good
25   cause.” Id. But Judge Early never proposed supplanting the good cause inquiry with
26   judicial convenience. Rather, he explained that the Court’s “substantial discretion” over
27   case management issues is an additional reason why the July Contentions should be
28   accepted. Dkt. 2311 at 24.
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1                 b.    Judge Early Correctly Found Apple Will Not Suffer Prejudice
2          Judge Early found that Masimo adequately showed the July Contentions did not
3    prejudice Apple and explained that “Apple’s proffer of prejudice is largely speculative”
4    and “may be easily alleviated.” Dkt. 2311 at 20. Apple argues several reasons why it
5    contends this finding should be set aside. Mot. at 20-21. Apple ignores that a party
6    making amendments in response to a motion is not required to “make the same showing
7    of ‘good cause’” needed when “formally moving to amend.” See, e.g., Speaker Techs.,
8    Inc. v. Apple, Inc., 2017 WL 235049, at *2 (N.D. Cal. Jan. 19, 2017). Apple’s arguments
9    are also incorrect for the reasons below.
10         First, Apple argues that, if the Court finds error in Judge Early’s diligence finding,
11   it “should not reach the R&R’s prejudice holding.” Mot. at 20. Apple cites two cases,
12   but Apple’s quotations show those cases held merely that courts are not required to
13   consider prejudice if the plaintiff was not diligent. Id. (quoting Facet and O2 Micro as
14   holding courts do not “need” to consider prejudice). But even if not necessary, courts
15   are free to consider prejudice. Indeed, Facet specifically explained that a Court “may
16   exercise its discretion” to “consider the prejudice question absent a showing of
17   diligence ….” 2023 WL 5504954, at *2. Further, O2 Micro is unhelpful because the
18   court there did not address whether good cause could exist without diligence. 467 F.3d
19   at 1366; 9/26/24 Tr. at 9:25-10:2 (noting O2 Micro not helpful). Thus, Apple identifies
20   no cognizable basis to ignore Judge Early’s finding of no prejudice to Apple.
21         Second, Apple argues that prejudice can only be considered in place of diligence
22   in narrow circumstances that it asserts do not apply. Mot. at 20. But the case Apple
23   cites addressed exemplary circumstances, not an exhaustive list. Id. (citing Apple, 2012
24   WL 5632618). More importantly, at least two of the exemplary circumstances Apple
25   identifies do apply here. Masimo’s contentions were not “motivated by gamesmanship”
26   because, as Judge Early found, Masimo amended at Apple’s request based on late-
27   provided information from Apple. And because there is no current schedule, the Court
28   can easily set one that allows “ample time” in discovery.
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1          Third, Apple argues that Judge Early erred by finding that any prejudice to Apple
2    could be easily alleviated by, for example, reopening discovery. Mot. at 20-21. Apple
3    cites Jackson to suggest the mere “possibility of additional discovery” results in
4    prejudice. Id. (citing 902 F.2d at 1388). But Apple has never identified any further
5    discovery that it needs. As Judge Early found, Apple’s proffer was “speculative”
6    offering only that Apple “may need to: (1) take a further inventor deposition and serve
7    new contention interrogatories; (2) review its invalidity and noninfringement
8    contentions; and (3) review witness disclosures.” 9/26/24 Tr. at 21-27 (cited by Dkt.
9    2311 at 20). Thus, a deposition of the asserted patents’ inventor (Ammar Al-Ali) is the
10   only discovery Apple says it needs. Apple argues it needs to ask Al-Ali “what he
11   interprets [is] within the scope” of the ’703 Patent. Id. at 26:7-25. But, as Masimo
12   explained (and Apple admitted) to Judge Early, Apple already deposed Mr. Al-Ali on
13   that very topic on July 12—after receiving the July Contentions—and asked him “a lot
14   of questions” about claim scope. Id. at 25:20-26:6; 9/26/24 Sealed Tr. at 50:60-52:7.
15         Neither of Apple’s other cited cases supports its position. The Solmon decision
16   did not even address amending contentions. 151 F.3d at 1139. And Coleman addressed
17   the need to reopen discovery and change the schedule. 232 F.3d at 1295. Here, the
18   Court already vacated the schedule for the patent case and has yet to issue a new one.
19   The Court has broad discretion to set a schedule to eliminate any purported prejudice.
20         Moreover, Apple’s complaints about prejudice are particularly misplaced. Apple
21   used its mere allegations of new theories in the July Contentions to separate Masimo’s
22   claims into two separate trials. Thus, Apple should not be heard to complain about
23   supposed prejudice from allowing the July Contentions.
24   C.    Masimo’s Proposed Schedule Will Address Apple’s Failure To Supplement
25         Its Invalidity Contentions
26         More than four months ago, the Court’s Order deferring ruling on Apple’s motion
27   to compel also ruled on Masimo’s motion to strike Apple’s invalidity contentions. Dkt.
28   2019. The Court ordered Apple to “reduce the number of asserted prior art combinations
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1    to approximately four combinations per claim” with “one or two additional
2    combinations for particular claims as needed.” Id. at 14. But Apple never complied and
3    continues to pursue between 12 and 18 combinations per claim. Dkt. 2027 at 12.
4          The Court agreed the parties’ dispute on this issue should be referred to the special
5    master. 7/12/24 Tr. at 17:7-21. However, Judge Early concluded the Court had not
6    referred this dispute to him and did not decide the issue. Dkt. 2114; 9/26/24 Sealed Tr.
7    at 4:4-9:16. Thus, this issue still requires decision. Masimo believes there is no dispute
8    that Apple continues to pursue between 12 and 18 combinations per claim, in direct
9    violation of the Court’s Order. At this point, Apple should comply immediately or be
10   precluded from offering any invalidity combinations.
11                                    IV. CONCLUSION
12         For the reasons discussed above, the Court should overrule Apple’s objections
13   and adopt Judge Early’s Report and Recommendation (Dkt. 2311) in its entirety.
14
15                                             Respectfully submitted,
16                                             KNOBBE, MARTENS, OLSON & BEAR, LLP
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1                                CERTIFICATE OF COMPLIANCE
2          The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
3    Laboratories, Inc., certifies that this brief contains 6,217 words, which [choose one]:
4    X complies with the word limit of L.R. 11-6.1.
5    __ complies with the word limit set by court order dated [date].
6
7
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